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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, TYLER MAGILL, APRIL
    MUNIZ, HANNAH PEARCE, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, and JOHN DOE,


                           Plaintiffs,
    v.


    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD              Civil Action No. 3:17-cv-00072-NKM
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,




                           Defendants.

         NOTICE OF PLAINTIFF TYLER MAGILL’S MOTION TO WITHDRAW AND
             VOLUNTARILY DISMISS HIS CLAIMS WITHOUT PREJUDICE
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         PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

  of Plaintiff Tyler Magill’s Motion to Withdraw and Voluntarily Dismiss His Claims Without

  Prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, the Affidavit of

  Tyler Magill in support of his motion, the Affirmation of Michael E. Bloch, and all other papers

  and proceedings herein, Tyler Magill, by and through his counsel, hereby moves this Court for

  an Order, pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, granting Plaintiff

  Tyler Magill’s motion to withdraw and voluntarily dismiss his claims without prejudice.



         Dated: February 7, 2019                       Respectfully submitted,

                                                       /s/
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       rcahill@cooley.com
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                                              Of Counsel:

   Roberta A. Kaplan (pro hac vice)           Karen L. Dunn (pro hac vice)
   Julie E. Fink (pro hac vice)               William A. Isaacson (pro hac vice)
   Gabrielle E. Tenzer (pro hac vice)         Jessica Phillips (pro hac vice)
   Joshua A. Matz (pro hac vice)              BOIES SCHILLER FLEXNER LLP
   Christopher B. Greene (pro hac vice)       1401 New York Ave, NW
   KAPLAN HECKER & FINK LLP                   Washington, DC 20005
   350 Fifth Avenue, Suite 7110               Telephone: (202) 237-2727
   New York, NY 10118                         Fax: (202) 237-6131
   Telephone: (212) 763-0883                  kdunn@bsfllp.com
   rkaplan@kaplanhecker.com                   wisaacson@bsfllp.com
   jfink@kaplanhecker.com                     jphillips@bsfllp.com
   gtenzer@kaplanhecker.com
   jmatz@kaplanhecker.com
   cgreene@kaplanhecker.com

   Yotam Barkai (pro hac vice)                Alan Levine (pro hac vice)
   BOIES SCHILLER FLEXNER LLP                 Philip Bowman (pro hac vice)
   575 Lexington Ave.                         COOLEY LLP
   New York, NY 10022                         1114 Avenue of the Americas, 46th Floor
   Telephone: (212) 446-2300                  New York, NY 10036
   Fax: (212) 446-2350                        Telephone: (212) 479-6260
   ybarkai@bsfllp.com                         Fax: (212) 479-6275
                                              alevine@cooley.com
                                              pbowman@cooley.com

   David E. Mills (pro hac vice)              J. Benjamin Rottenborn (VSB 84796)
   COOLEY LLP                                 WOODS ROGERS PLC
   1299 Pennsylvania Avenue, NW               10 South Jefferson St., Suite 1400
   Suite 700                                  Roanoke, VA 24011
   Washington, DC 20004                       Telephone: (540) 983-7600
   Telephone: (202) 842-7800                  Fax: (540) 983-7711
   Fax: (202) 842-7899                        brottenborn@woodsrogers.com
   dmills@cooley.com
                                              Counsel for Plaintiffs




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                                        CERTIFICATE OF SERVICE

         I hereby certify that on February 7, 2019, the foregoing was filed with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

  Justin Saunders Gravatt
  David L. Hauck
  David L. Campbell
  Duane, Hauck, Davis & Gravatt, P.C.
  100 West Franklin Street, Suite 100
  Richmond, VA 23220
  jgravatt@dhdglaw.com
  dhauck@dhdglaw.com
  dcampbell@dhdglaw.com

  Counsel for Defendant James A. Fields, Jr.

  Bryan Jones
  106 W. South St., Suite 211
  Charlottesville, VA 22902
  bryan@bjoneslegal.com

  Counsel for Defendants Michael Hill,
  Michael Tubbs, and League of the South

  John A. DiNucci
  Law Office of John A. DiNucci
  8180 Greensboro Drive, Suite 1150
  McLean, VA 22102
  dinuccilaw@outlook.com

  Counsel for Defendant Richard Spencer

  Elmer Woodard
  5661 US Hwy 29
  Blairs, VA 24527
  isuecrooks@comcast.net

  James E. Kolenich
  Kolenich Law Office
  9435 Waterstone Blvd. #140
  Cincinnati, OH 45249
  jek318@gmail.com

  Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew Parrott, Robert Ray,
  Traditionalist Worker Party, Jason Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity
  Evropa), and Christopher Cantwell
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          I further hereby certify that on February 7, 2019, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

   Loyal White Knights of the Ku Klux Klan                 Moonbase Holdings, LLC
   a/k/a Loyal White Knights Church of                     c/o Andrew Anglin
   the Invisible Empire, Inc.                              P.O. Box 208
   c/o Chris and Amanda Barker                             Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379                                   Andrew Anglin
                                                           P.O. Box 208
   Augustus Sol Invictus                                   Worthington, OH 43085
   9823 4th Avenue
   Orlando, FL 32824                                       East Coast Knights of the Ku Klux Klan
                                                           a/k/a East Coast Knights of the
   Fraternal Order of the Alt-Knights                      True Invisible Empire
   c/o Kyle Chapman                                        26 South Pine St.
   52 Lycett Circle                                        Red Lion, PA 17356
   Daly City, CA 94015


          I further hereby certify that on February 7, 2019, I also served the following non-ECF
  participants, via electronic mail, as follows:

  Elliott Kline
  eli.f.mosley@gmail.com

  Matthew Heimbach
  matthew.w.heimbach@gmail.com


                                                      /s/
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      Email: rcahill@cooley.com

                                                      Counsel for Plaintiffs




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